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                                           1   LARSON ZIRZOW & KAPLAN, LLC
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                                           5   850 E. Bonneville Ave.
                                               Las Vegas, Nevada 89101
                                           6
                                               Tel: (702) 382-1170
                                           7   Fax: (702) 382-1169
                                               Proposed Attorneys for Debtors
                                           8

                                           9                                  UNITED STATES BANKRUPTCY COURT
                                          10                                         DISTRICT OF NEVADA

                                          11   In re:                                                         Case No.: BK-S-18-16584-abl
                                                                                                              Chapter 11
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                               BACHI BURGER, L.L.C.,                                          (Jointly Administered)
 LARSON ZIRZOW & KAPLAN, LLC




                                          13
                                                                           Debtor.
        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14

                                          15   In re:                                                         Case No.: BK-S-18-16585-btb
                                                                                                              Chapter 11
                                          16   GREEN REVOLUTIONS LLC,
                                          17
                                                                           Debtor.                            Date: December 5, 2018
                                          18                                                                  Time: 1:30 p.m.

                                          19                   AMENDED1 DECLARATION OF MICHAEL VAN ESQ. IN SUPPORT
                                                               OF APPLICATION FOR ORDER APPROVING THE EMPLOYMENT
                                          20                     OF SHUMWAY VAN AS SPECIAL LITIGATION COUNSEL TO
                                          21                        DEBTORS NUNC PRO TUNC TO THE PETITION DATE
                                                          I, Michael Van, Esq., hereby declare as follows:
                                          22
                                                          1.      I am over the age of 18 and am mentally competent. I have personal knowledge
                                          23
                                               of the facts in this matter and if called upon to testify, could and would do so. I make this
                                          24
                                               declaration in support of the Application for Order Approving the Employment of Shumway Van
                                          25
                                               as Special Litigation Counsel to Debtors Nunc Pro Tunc to the Petition Date (the
                                          26

                                          27

                                          28   1
                                                   This Declaration is being Amended to reflect the correct case number of the co-Debtor, Green Revolutions LLC.



                                                                                                         1
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                                           1   “Application”).2 Unless otherwise indicated, all capitalized terms herein shall have the same
                                           2
                                           2   meaning as ascribed to them in the Application.
                                           3
                                           3              2.       I am an attorney licensed to practice law in the State of Nevada, and am admitted
                                           4
                                           4   to practice law before the courts of Nevada. I am a shareholder with the Shumway Van
                                           5
                                           5   (“Shumway Van”), which maintains offices at 8985 S. Eastern Avenue, Suite 100, Las Vegas,
                                           6
                                           6   Nevada 89123.
                                           7
                                           7                                                     Relief Requested
                                           8
                                           8              3.       Debtors seek court approval pursuant to sections 327(e) and 328 of the
                                           9
                                           9   Bankruptcy Code to employ and retain Shumway Van nunc pro tunc to the Petition Date as their
                                          10
                                          10   special litigation counsel and pursuant to the terms and conditions of a Contingency Fee
                                          11
                                          11   Agreement as described herein.
                                          12
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                                                                                                      Retention
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                                          12
                                          13
                                          13              4.       On October 23, 2018, Shumway Van entered into a Contingency Fee Agreement
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                                          14   (the “Contingency Fee Agreement”) with Debtors, a true and correct copy of which is attached
                                          15
                                          15   as Exhibit 1. The Contingency Fee Agreement provides that Shumway Van will receive as
                                          16
                                          16   compensation 50% of all amounts received by way of settlement, judgment, or otherwise.                               In
                                          17
                                          17   addition, Shumway Van shall advance all costs of the litigation including expenses of
                                          18
                                          18   representation, investigation and preparation of the case. Once any litigation is completed, all
                                          19
                                          19   costs will be paid from the proceeds. If the Debtors do not prevail in any litigation, Shumway
                                          20
                                          20   Van will not receive any reimbursement for costs.
                                          21
                                          21              5.       Debtors selected Shumway Van as their special counsel because of the firm’s
                                          22
                                          22   longstanding representation of the Debtors pre-petition, the law firm’s historical knowledge of
                                          23
                                          23   the facts and circumstances involved in the proposed litigation, and that Shumway Van was
                                          24
                                          24   willing to engage in such representation pursuant to the terms and conditions of the Contingency
                                          25
                                          25   Fee Agreement, which has substantially favorable terms that the Debtors likely cannot obtain
                                          26
                                          26   from any other professional.
                                          27
                                          27
                                          28   2
                                                   Unless otherwise indicated, all capitalized terms shall have the same meaning as set forth in the Application.
                                          28


                                                                                                           2
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                                           1                                           Scope of Services
                                           2
                                           2          6.      Shumway Van’s services are appropriate and necessary in order for the Debtors to
                                           3
                                           3   maximize the value of their estates. Indeed, Debtors anticipate that the litigation recoveries that
                                           4
                                           4   Shumway Van may generate will contribute to the funding of the Debtors’ operations and
                                           5
                                           5   funding of its chapter 11 plan of reorganization.         Among potential other litigations that
                                           6
                                           6   Shumway Van may commence on behalf of the Debtors include collection litigation against a so-
                                           7
                                           7   called “debt solutions company” who claims to have represented the Debtors pre-petition with
                                           8
                                           8   respect to the negotiation of its outstanding tax liabilities, but which company actually proved to
                                           9
                                           9   be utterly inexperienced and incompetent, thus costing the Debtors a substantial amount of time
                                          10
                                          10   and money, as whose professional negligence substantially contributed to the Debtors’ need to
                                          11
                                          11   seek bankruptcy relief.
                                          12
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                                                      7.      Shumway Van may also be involved in the litigation of other matters for the
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                                          12
                                          13
                                          13   benefit of the Debtors’ estates, including but not necessarily limited to litigation against one of
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                                          14
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                                          14   the prior owners of the business, whose actions and mismanagement were largely responsible for
                                          15
                                          15   the large outstanding tax claims, which are one of the principal reasons the Debtors needed to
                                          16
                                          16   seek bankruptcy relief. Finally, Shumway Van may assist general reorganization counsel with
                                          17
                                          17   respect to the potential review and/or litigation of certain aspects of the tax claims involved in
                                          18
                                          18   the case given their prior involvement in such matters pre-petition. Shumway Van will work
                                          19
                                          19   closely with the Debtors’ proposed general reorganization counsel at Larson Zirzow & Kaplan,
                                          20
                                          20   LLC to avoid any duplication of services, and so as to minimize whenever possible the overall
                                          21
                                          21   costs and expenses to the estate as a result of the various professionals involved.
                                          22
                                          22          8.      Subject to this Court’s approval of the Application, Shumway Van is willing to
                                          23
                                          23   serve as Debtors’ special litigation counsel, subject to the terms and conditions of the
                                          24
                                          24   Contingency Fee Agreement.
                                          25
                                          25                                          No Adverse Interest
                                          26
                                          26          9.      Pursuant to section 327(e) of the Bankruptcy Code, to the best of its knowledge,
                                          27
                                          27   Shumway Van and its attorneys do not hold or represent any interest adverse to Debtors’ estates
                                          28
                                          28   with respect to the specified matters on which it is to be employed.


                                                                                                3
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                                           1          10.     Pursuant to Fed. R. Bankr. P. 2014(a), Shumway Van discloses that it has a pre-
                                           2
                                           2   petition connection to the Debtors given its longstanding representation of them pre-petition in
                                           3
                                           3   their various business and corporate affairs, however, neither the firm nor any attorney thereof
                                           4
                                           4   has any present or prior connection with Debtors’ creditors or any other party in interest, their
                                           5
                                           5   respective attorneys and accountants, the United States Trustee, or any person employed in the
                                           6
                                           6   Office of the United States Trustee.
                                           7
                                           7                                              Compensation
                                           8
                                           8          11.     Pursuant to the proposed Contingency Fee Agreement attached to the Van
                                           9
                                           9   Declaration, the services provided by Shumway Van will be on a contingency basis of 50% of
                                          10
                                          10   any net amounts recovered, and after all costs have been paid. In other words, the Debtors will
                                          11
                                          11   not incur any out of pocket costs unless and until Shumway Van actually recovers an amount for
                                          12
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                                               the benefit of the Debtors and their estates.
 LARSON ZIRZOW & KAPLAN, LLC




                                          12
                                          13
                                          13          12.     Debtors understand that Shumway Van hereafter intends to apply to the Court for
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                                          14   allowance of compensation and reimbursement of expenses; provided, however, that its fees for
                                          15
                                          15   compensation shall be subject to review under section 328(a) of the Bankruptcy Code, and not
                                          16
                                          16   pursuant to section 330 of the Bankruptcy Code. Shumway Van’s expenses shall be subject to
                                          17
                                          17   review pursuant to section 330. Shumway Van understands that its compensation is subject to
                                          18
                                          18   prior Court approval.
                                          19
                                          19          I declare under penalty of perjury of the laws of the United States that these facts are true
                                          20
                                          20   to the best of my knowledge and belief.
                                          21
                                          21          DATED: November 5, 2018.
                                          22                                                    /s/ Michael Van
                                          22                                                   MICHAEL VAN
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